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                           UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF CALIFORNIA


UNITED STATES OF AMERICA,                       CASE NO.

                           Plaintiff,
                   vs.                          JUDGMENT OF DISMISSAL
CHRISTIAN MARTINEZ-MORANTE
 ( 3) ,

                           Defendant.


          IT APPEARING that the defendant is now entitled to be discharged
for the reason that:

          an indictment has been filed in another case against the defendant and
          the Court has granted the motion of the Government for dismissal of
          this case, without prejudice; or

          the Court has dismissed the case for unnecessary delay; or

          the Court has granted the motion of the Government for dismissal,
          without prejudice; or

          the Court has granted the motion of the defendant for a judgment of
          acquittal; or

          a jury has been waived, and the Court has found the defendant not
          guilty; or

          the jury has returned its verdict, finding the defendant not guilty;

-X-       of the offense(s) as charged in the Information:

          21 USC 959, 960, and 963 - Conspiracy to Distribute Marijuana Intended

            For Importation

               IT IS THEREFORE ADJUDGED that the defendant is hereby discharged.


 DATED: 06/29/15
                                                Thomas i'  helan
                                                U.S. Dis rict Judge
